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9    Attorneys for Plaintiff
10
11                                 UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
13                                     SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,           )                 No.: CR 3-05-70262 JL
                                         )
16         Plaintiff,                    )
                                         )                 STIPULATION AND [PROPOSED]
17      v.                               )                 PROTECTIVE ORDER REGARDING
                                         )                 COMPUTER DISCOVERY AS TO
18   TIFFANY STUART, aka Jane Doe,       )                 DEFENDANTS STUART, LANGE AND
     JENNIFER LANGE, and                 )                 DOUGLAS
19   BRANDY DOUGLAS,                     )
                                         )
20         Defendants.                   )
                                         )
21   ____________________________________)
22
23          The United States, through its counsel of record, and the defendants, through their
24   counsel of record, hereby agree and stipulate that the government will provide computer
25   discovery (consisting of seized computer evidence) on the following conditions:
26          The computer discovery produced in this matter is deemed Protected Material.
27   Possession of copies of the Protected Material is limited to the defendants, their attorneys of
28
     No.: CR 3-05-70262 JL
     STIP. & [PROPOSED] PROT. ORDER RE COM PUTER
     DISCOVERY AS TO DEFS STUART, LANGE & DOUGLAS
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1    record, and investigators, paralegals, law clerks, translators, interpreters, experts and assistants
2    for the attorneys of record (hereinafter collectively referred to as "members of the defense team").
3           The defendants, their attorneys of record, and members of the defense team acknowledge
4    that providing copies of the Protected Material to other persons is prohibited, and agree not to
5    duplicate or provide copies of the Protected Material to other persons. The defendants, their
6    attorneys of record, and members of the defense team may show Protected Material to witnesses
7    or prospective witnesses in conjunction with their defense of the defendants in this case. The
8    defendants, their attorneys of record, and members of the defense team further acknowledge that
9    they are prohibited from using the Protected Material for any purpose other than defending the
10   defendant in the above-captioned matter. Any violation of these prohibitions constitutes a
11   violation of the Protective Order. Further, the attorneys of record agree that prior to
12   disseminating any copies of the Protected Material to members of the defense team, they will
13   provide a copy of this Protective Order to members of the defense team.
14          Notwithstanding efforts taken by the government to redact personal information of
15   witnesses from the discovery provided to the defense (such as date of birth, social security
16   numbers, addresses, phone numbers, etc.), defense counsel, the defendants and members of the
17   defense team agree that, should any such information be found during their review of this
18   material, they will not provide that personal information in any form – whether in verbal, written
19   or electronic format – to any third party, for any reason whatsoever.
20                  2       Nontermination
21          The provisions of this Order shall not terminate at the conclusion of this prosecution but
22   only upon further order of this Court. Within 30 days of a verdict or guilty plea, the defendants’
23   attorneys of record shall return all copies of any Protected Material (including all copies provided
24   to the defendants, their attorneys of record, and members of the defense team) to the United
25   States Attorney’s Office for the Northern District of California.
26
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1          IT IS SO STIPULATED.
2
3    DATED: October 14, 2005              /s/ Monica Fernandez
                                          MONICA FERNANDEZ
4                                         Assistant United States Attorney
                                          Counsel for the United States
5
6    DATED: October 3, 2005                /s/ Josh Cohen
                                          JOSH COHEN
7                                         Counsel for Defendant STUART
8
     DATED: October 3, 2005               /s/ Suzanne Luban
9                                         SUZANNE LUBAN
                                          Counsel for Defendant LANGE
10
11   DATED: October 13, 2005              /s/ Geoffrey Rotwein
                                          GEOFFREY ROTWEIN
12                                        Counsel for Defendant DOUGLAS
13
14                                       ORDER
15         PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     DATED: October __,                   ___________________________________
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                                          UNITED STATES MAGISTRATE JUDGE                          R NIA
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